
PER CURIAM.
This matter recurs for consideration upon the judgment and mandate of the Supreme Court of the United States. Pursuant to the directions of that Court it is now found that the petition, if proved, alleged grounds for post-conviction relief. In order to expedite the disposition of the matter we decline to issue a writ of habeas corpus, but expressly without prejudice to the petitioner to proceed under Florida Criminal Procedure Rule No. 1, 31 F.S.A. See Gideon v. Wainwright, 372 U.S. 335, 83 S.Ct. 792, 9 *838L.Ed.2d 799, and on remand, Gideon v. Wainwright, (Fla.) 153 So.2d 299.
It is so ordered.
DREW, C. J., and TERRELL, THOMAS, ROBERTS and THORNAL, JJ., concur.
